 Case 2:18-cr-00365-JNP Document 1366 Filed 06/14/22 PageID.33145 Page 1 of 3




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                          IN THE UNITED STATES DISTRICT COURT

                             DISTRICT OF UTAH, CENTRAL DIVISION


                                               :
UNITED STATES OF AMERICA,                                 Case No. 2:18-CR-365-JNP
                                               :
                        Plaintiff,                        GOVERNMENT’S RESPONSE TO
                                               :          DEFENDANT DERMEN’S EMERGENCY
        v.                                                REQUEST FOR TEMPORARY
                                               :          FURLOUGH
LEV ASLAN DERMEN,
   a/k/a Levon Termendzhyan,                   :          Judge Jill N. Parrish

                        Defendant.             :


        The United States, through its attorneys, files this response to Defendant Dermen’s

Emergency Request for Temporary Furlough Release From Pretrial Detention due to Father’s

Deteriorating Health Condition [ECF 1365]. Dermen seeks a furlough to visit his dying father in Los

Angeles, and is “prepared to reimburse or advance to the U.S. Marshal’s Office any and all costs

associated with facilitating the furlough, including travel costs and expenses for a USM escort to and

from Salt Lake City, Utah to Los Angeles.” Def. Mot. at 3.

        While the United States understands the difficult position Dermen faces, the United States

objects to a general furlough. As for his request in the alternative for an escorted visit, the United
                                                      1
 Case 2:18-cr-00365-JNP Document 1366 Filed 06/14/22 PageID.33146 Page 2 of 3



States would only agree if the U.S. Marshals Service is willing and prepared to provide the same escort

team that transported Dermen to and from the courthouse during his trial, and Dermen reimburses the

government for the expense of this escorted visit. Otherwise, the United States objects to his furlough

request. Dermen is a convicted felon facing a recommended sentencing guideline range of life

imprisonment. Dermen has every incentive to flee the United States. Given the millions of dollars of

fraud proceeds that were sent offshore through Luxembourg and Turkey, and the fact that the United

States has not been able to recover these funds, Dermen has the financial means to flee the country and

never return to the United States. Absent the imposition of extraordinary security measures to ensure

that Dermen does not escape from custody, the Court should deny Dermen’s request.

       Respectfully submitted this 14th day of June 2022.

                                                        TRINA A. HIGGINS
                                                        United States Attorney

                                                        /s/ Richard M. Rolwing
                                                        RICHARD M. ROLWING
                                                        Special Assistant United States Attorney
                                                        JOHN E. SULLIVAN
                                                        Senior Litigation Counsel




                                                    2
 Case 2:18-cr-00365-JNP Document 1366 Filed 06/14/22 PageID.33147 Page 3 of 3



                                       Certificate of Service
        I certify that on the 14th day of June 2022, I caused a copy of the foregoing to be filed
through the CM/ECF electronic filing system, and I caused a copy to be emailed to all counsel of
record.

                                                     /s/ John E. Sullivan
                                                     JOHN E. SULLIVAN
                                                     Senior Litigation Counsel




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